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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )                 8:09CR396
      vs.                                       )
                                                )                  ORDER
ARMANDO PEREZ-LOPEZ,                            )
                                                )
                     Defendant.                 )


       This matter is before the court on the defendant's Third Motion to Extend Pretrial
Motion Deadline [35]. Present counsel was retained and entered his appearance on
November 1, 2010, the first business day following the defendant's initial appearance. At
that time, the pretrial motion deadline had been set for November 19, 2010. A
codefendant's pretrial motion has been pending since November 19, 2010. The defendant
has already procured two extensions of this deadline and now seeks another 30-day
extension. The court finds that the defendant has not shown good cause for a further
extension of the pretrial motion deadline.

      IT IS ORDERED:

      1.    The defendant's Third Motion to Extend Pretrial Motion Deadline [35] is denied.

       2. A party may object to a magistrate judge's order by filing an "Objection to
Magistrate Judge's Order" within 14 days after being served with the order. The objecting
party must comply with all requirements of NECrimR 59.2.

      DATED December 6, 2010.

                                             BY THE COURT:

                                             s/ F.A. Gossett, III
                                             United States Magistrate Judge
